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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                         BRUNSWICK DIVISION

UNITED STATES OF AMERICA
                                                    SUPERSEDING
                                                    INDICTMENT
V.                                                  CR 2:18-60


JOHN DRAXELL BUCKLEY,



                               PLEA AGREEMENT


      Defendant, JOHN DRAXELL BUCKLEY, represented by his counsel

Adrienne Browning, and the United States of America, represented by Assistant

United States Attorneys Jennifer Kirkland and Marcela Mateo, have reached a plea

agreement in this case. The terms and conditions of that agreement are as follows.

1.    Guilty Plea


      Defendant agrees to enter a plea of guilty to Co\mt One of the Superseding

Indictment, which charges a violation of 21 U.S.C. § 846.

2.    Elements and Factual Basis


      The elements necessary to prove the offense charged in Count One are(1)That

two or more people in some way agreed to try to accomplish a shared and unlawful

plan to possess quantities of a mixture or substance containing detectable amounts

of cocaine base,("crack" or "crack cocaine"), a Schedule II controlled substance; and

(2) That the Defendant knew the unlawful purpose ofthe plan and willfully joined in

it; and (3) That the object of the unlawful plan was to possess with the intent to

distribute and to distribute the crack cocaine.


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       Defendant agrees that he is, in fact, guilty of this offense. He agrees to the

accuracy of the following facts, which satisfy each of the offense's required elements:

      Beginning on a date unknown, but as early as October 2017, up to and

including October 2018, the precise dates being unknown, in Glynn County and

suiTounding counties, within the Southern District of Georgia, and elsewhere, the

defendant did knowingly and intentionally combine, conspire, confederate and agree

with others known and unknown, to possess with intent to distribute quantities of a

mixture or substance containing detectable amounts of cocaine base, ("crack" or

"crack cocaine"), a Schedule II controlled substance, in violation of Title 21, United

States Code, Sections 841(a)(1) and 841(b)(1)(C); all done in violation of Title 21,

United States Code, Section 846.

3.    Possible Sentence

      Defendant's guilty plea will subject him to the following maximum possible

sentence: Imprisonment of not more than 20 years, a supervised release term of not

less than 3 years, a $1,000,000 fine, such restitution as may be ordered by the Court,

and forfeitme of all forfeitable assets. The Court additionally must impose a $100

special assessment.

4.    No Promised Sentence

      No one has promised Defendant that the Court will impose any particular

sentence or a sentence within any particidar range. The Court is not bound by any

estimate of sentence given or recommendations made by Defendant's counsel, the

government, the U.S. Probation Office, or anyone else. The Court may impose a
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sentence up to the statutory maximum. Defendant will not be allowed to withdraw

his plea of guilty if he receives a more severe sentence than he expects.

5.    Courtis Use of Sentencing Guidelines

      The Court is obligated to use the United States Sentencing Guidelines to

calculate the applicable guideline range for Defendant's offense. The Sentencing

Guidehnes are advisory; the Court is not required to impose a sentence within the

range those Guidelines suggest. The Court will consider that range, possible

departures under the Sentencing Guidelines, and other sentencing factors under 18

U.S.C. § 3558(a), in determining the Defendant's sentence.           The Sentencing

Guidelines are based on aU of Defendant's relevant conduct, pursuant to U.S.S.G. §

IBI.3, not just the conduct underlying the particular Count or Counts to which

Defendant is pleading guilty.

6,    Agreements Regarding Sentencing Guidelines


      a-     Use ofInformation

      Nothing in this agreement precludes the government from providing fiUl and

accurate information to the Court and U.S. Probation Office for use in calculating the

applicable Sentencing Guidelines range. Any incriminating information provided by

the defendant during his cooperation will not be used in determining the applicable

Guidelines range, pursuant to Section IBI.8 ofthe Sentencing Guidelines,

      b.    Acceptance of Responsibilitv


      The government will not object to a recommendation by the U.S. Probation

Office that Defendant receive a two-level reduction in offense level for acceptance of
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responsibility pursuant to Section 3E1.1(a) of the Sentencing Guidelines. If the U.S.

Probation Office makes that recommendation, and Defendant's offense level is 16 or

greater prior to any reduction for acceptance of responsibility, the government will

move for an additional one-level reduction in offense level pursuant to Section

3E1.1(b) of the Sentencing Guidelines based on Defendant's timely notification of his

intention to enter a guilty plea.

7.    Dismissal of Other Counts

      At sentencing, the government will move to dismiss any other Counts of the

Indictment that remain pending against Defendant, if applicable.

8.    Financial Obligations and Agreements

      a.     Restitution


      The amount ofrestitution ordered by the Court shall include restitution for the

full loss caused by Defendant's total criminal conduct. Restitution is not limited to

the specific counts to which Defendant is pleading guilty. Any restitution judgment

is intended to and will survive Defendant, notwithstanding the abatement of any

imderlying criminal conviction.

      b.     Special Assessment

      Defendant agrees to pay a special assessment in the amount of $100, payable

to the Clerk of the United States District Court, which shall be due immediately at

the time of sentencing.

      d.     Reouired Financial Disclosures
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        By the date that Defendant enters a guilty plea, Defendant shall complete a

financial disclosure form Hsting all her assets and financial interests, whether held

directly or indirectly, solely or jointly, in his name or in the name of another.

Defendant shall sign the financial disclosure form under penalty of perjury and

provide that form to the Financial Litigation Unit of the United States Attorney's

Office and to the United States Probation Office. Defendant authorizes the United

States to obtain credit reports on Defendant and to share the contents ofthose reports

with the Court and the United States Probation Office. Defendant also authorizes

the United States Attorney's Office to inspect and copy all financial documents and

information held by the United States Probation Office.

        e.    Financial Examination

        Defendant will submit to an examination under oath on the issue of his

financial disclosures and assets if deemed necessary by the United States. Such

examination will occur not later than 30 days after the entry of Defendant's guilty

plea.

        f.    No Transfer of Assets

        Defendant certifies that he has made no transfer of assets in contemplations

of this prosecution for the purpose of evading or defeating financial obligations

created by this Agreement or that may be imposed upon her by the Court at

sentencing. Defendant promises that he will make no such transfers in the future.

        g.    Material Change in Circumstances
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      Defendant agrees to notify the United States of any material change in

circumstances, as described in 18 U.S.C. § 3664(k), that occurs prior to sentencing in

this case. Such notification will be made within seven days of the event giving rise

to the changed circumstances, and in no event later than the date of sentencing.

      h.     Enforcement

      Any payment schedule imposed by the Court is without prejudice to the United

States to take all actions and remedies available to it to collect the full amount of the

financial obligations imposed by the judgment of the Court in this case. Defendant

understands and agrees that the financial obligations imposed by the judgment ofthe

Court in this case will be placed on the Treasury Offset Program so that any federal

payment that Defendant receives may be offSset and applied to the judgment debt

without regard to or affecting any payment schedule imposed by the Court.

9.    Waivers


      a.     Waiver of Anneal

      Defendant entirely waives his right to a direct appeal of his conviction and

sentence on any ground. The only exceptions are that the Defendant may file a direct

appeal of his sentence if(1)the court enters a sentence above the statutory maximum,

(2)the court enters a sentence above the advisory Sentencing Guidelines range fo\md

to apply by the court at sentencing; or (3) the Government appeals the sentence.

Absent those exceptions, Defendant explicitly and irrevocably instructs his attorney

not to file an appeal.

      b.     Waiver of Collateral Attack
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       Defendant entirely waives his right to collaterally attack his conviction and

sentence on any ground and by any method, including but not limited to a 28 U.S.C.

§ 2255 motion. The only exception is that Defendant may collaterally attack his

conviction and sentence based on a claim ofineffective assistance of counsel.

      c.     FOIA and Privacv Act Waiver


      Defendant waives all rights, whether asserted directly or through a

representative, to request or receive from any department or agency of the United

States any record pertaining to the investigation or prosecution of this case under the

authority of the Freedom of Information Act, 5 U.S.C. § 552, or the Privacy Act of

1974, 5 U.S.C. § 552a, and all subsequent amendments thereto.

      d.     Fed. R. Grim.P. IKfr and Fed. R.Evid. 410 Waiver

      Rule 11(f) of the Federal Rules of Criminal Procedure and Rule 410 of the

Federal Rules of Evidence ordinarily limit the admissibility of statements made by a

defendant diiring the course of plea discussions or plea proceedings. Defendant

knowingly and voluntarily waives the protections of these rules. If Defendant fails

to plead guilty, or his plea of guilty is later withdrawn, all of Defendant's statements

in connection with this plea, and any leads derived therefrom, shall be admissible for

any and all purposes.

10.   Defendant's Rights

      Defendant has the right to be represented by counsel, and if necessary have

the court appoint counsel, at trial and at every other critical stage of the proceeding.

Defendant possesses a number of rights which he will waive by pleading guilty,
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including: the right to plead not guilty, or having already so pleaded, to persist in

that plea; the right to a jury trial; and the right at trial to confront and cross-examine

adverse witnesses, to be protected from compelled self-incrimination, to testify and

present evidence, and to compel the attendance of witnesses.

11.   Satisfaction with Counsel

      Defendant has had the benefit of legal counsel in negotiating this agreement.

Defendant believes that his attorney has represented him faithfully, skillfully, and

diligently, and he is completely satisfied with the legal advice given and the work

performed by his attorney.



12.   21 U.S.C. Section 851 Enhancement


      The government agrees not to file a Title 21, Section 851 enhancement

against the defendant, if applicable.



13.   Breach of Plea Agreement

      IfDefendant fails to plead guilty, withdraws or attempts to withdraw his guilty

plea, commits any new criminal conduct following the execution of this agreement, or

otherwise breaches this agreement, the government is released from all of its

agreements regarding Defendant's sentence,including any agreements regarding the

calculation of Defendant's advisory Sentencing Guidelines.            In addition, the

government may declare the plea agreement null and void, reinstate any counts that

may have been dismissed pursuant to the plea agreement, and/or file new charges


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against Defendant that might otherwise be barred by this plea agreement. Defendant

waives any statute-of-limitations or speedy trial defense to prosecutions reinstated

or commenced under this paragraph.




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14.    Entire Agreement


       This agreement contains the entire agreement between the government and

Defendant.


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                                    UNITED/STAffEJ; ATTORNEY



Date                                BnariJP^R^fferty
                                    Chief; Criminal Division


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Date                                        Kii-kland
                                    Assistant United States Attorney




Date                                Marcfela C. Mateo
                                    Assistant United States Attorney




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       I have read and carefully reviewed this agreement with my attorney. I

understand each provision of this agreement, and I voluntarily agree to it. I hereby

stipulate that the factual basis set out therein is true and accurate in every respect.




                                        John Draxell Buckley
                                        Defendant




       I have fully explained to Defendant all of his rights, and I have carefully

reviewed each and every part of this agreement with him. I beUeve that he fully and

completely understands it, and that his decision to enter into this agreement is an

informed, intelUgent, and voluntary one.




Date                                    Adrienne Browning
                                        Defendant's Attorney




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                     UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF GEORGIA
                            BRUNSWICK DIVISION


UNITED STATES OF AMERICA                     Case No. 2:18-cr-050


V.



JOHN BUCKLEY

                                     ORDER


       The aforesaid Plea Agi-eement, having been considered by the Court in

conjunction with the interrogation by the Court of the defendant and the defendant's

attorney at a hearing on the defendant's motion to change his plea and the Court

finding that the plea of guilty is made freely, voluntarily and knowingly, it is

thereupon,

       ORDERED that the plea of guilty by defendant be, and it is, hereby accepted

and the foregoing Plea Agreement be, and it is, hereby rati^^ and confirmed.
       This^ day of May 2019.




                                               lABLE LISA GODBEY WOOD
                                          'ED STATES DISTRICT COURT
                                       SOtJTHERN DISTRICT OF GEORGIA
